Case 19-42491-bem        Doc 11 Filed 11/02/19 Entered 11/03/19 01:00:44                   Desc Imaged
                              Certificate of Notice Page 1 of 3




       IT IS ORDERED as set forth below:



       Date: October 31, 2019
                                                             _________________________________

                                                                       Barbara Ellis-Monro
                                                                  U.S. Bankruptcy Court Judge


     ________________________________________________________________

                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

     IN RE:
                                                                    CASE NO. 19-42491-bem
     Amy Hughes,

              Debtor.                                               CHAPTER 7


      ORDER DENYING APPLICATION TO HAVE CHAPTER 7 FILING FEE WAIVED
           On October 28, 2019, Debtor filed an Application to Have the Chapter 7 Filing Fee Waived

    ("Application") [Doc. 4]. The Application and Debtor’s schedules show monthly income of
    $3,938.40 ($47,260.80 annually) and a 3-person household.

           Under 28 U.S.C. § 1930(f)(1), the Court may waive the filing fee if (1) Debtor’s income is

    less than 150% of the official poverty guideline applicable to Debtor’s family size and (2) Debtor
    is unable to pay the filing fee in installments. In 2019, the official poverty line income amount for

    a 3-person household is $21,330. See https://aspe.hhs.gov/poverty-guidelines. Debtor bears the
    burden of proving that her circumstances satisfy both requirements of 28 U.S.C. § 1930(f)(1). See,

    e.g., In re Spisak, 361 B.R. 408, 412 (Bankr. D. Vt. 2007).

           Debtor has not carried her burden of showing she qualifies for waiver of the Chapter 7
    filing fee. Debtor's $47,260.80 annual household income exceeds $31,995 (150% of the $21,330
Case 19-42491-bem        Doc 11 Filed 11/02/19 Entered 11/03/19 01:00:44                  Desc Imaged
                              Certificate of Notice Page 2 of 3



    poverty line for a 3-person household).
           Accordingly, it is hereby

           ORDERED that the Application is denied; however, to allow Debtor an opportunity to

    pay the filing fee, it is further ORDERED that Debtor shall either (1) pay the Chapter 7 filing fee
    in full within ten (10) days of the date of the entry of this Order, or (2) begin making installment

    payments as follows:

                   $ 85.00 on or before 10 days from the date of the entry of this Order.
                   $ 125.00 on or before 30 days from the date of the entry of this Order.
                   $ 125.00 on or before 60 days from the date of the entry of this Order.

    ALL PAYMENTS MUST BE MADE BY CASH, MONEY ORDER, CASHIER'S CHECK,
    ATTORNEY'S CHECK, OR TRUSTEE'S CHECK, PAYABLE TO "CLERK, UNITED
    STATES BANKRUPTCY COURT." **
           If Debtor fails to timely pay the filing fee as set forth above, this case may be dismissed

    without opportunity for hearing.

           The Clerk is directed to serve a copy of this Order upon Debtor, the Chapter 7 Trustee,
    and the U.S. Trustee.

    ** Mailing Address

    United States Bankruptcy Court
    1340 Russell Federal Building
    75 Ted Turner Drive, SW
    Atlanta, GA 30303
                                              END OF ORDER




                                                     2
        Case 19-42491-bem              Doc 11 Filed 11/02/19 Entered 11/03/19 01:00:44                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 19-42491-bem
Amy Darlene Hughes                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-6                  User: gentryr                      Page 1 of 1                          Date Rcvd: Oct 31, 2019
                                      Form ID: pdf599                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 02, 2019.
db             +Amy Darlene Hughes,   4756 Tree Top Lane,   Cohutta, GA 30710-9708

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 02, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 31, 2019 at the address(es) listed below:
              Office of the United States Trustee   ustpregion21.at.ecf@usdoj.gov
              Tracey L. Montz   traceymontz@yahoo.com, tlm@trustesolutions.net
                                                                                            TOTAL: 2
